Case 2:09-cv-04414-SDW-LDW Document 1041 Filed 06/14/19 Page 1 of 1 PageID: 16512




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                                              June 14, 2019

   VIA ECF AND E-MAIL TO DEVON CORNEAL@NJD.USCOURTS.GOV

    The Honorable Susan D. Wigenton
    United States District Judge
    U.S. District Court for the District of New Jersey
    Martin Luther King, Jr. Federal Building & U.S. Courthouse
    50 Walnut Street
    Newark, NJ 07102

             Re:       In re: Zimmer Durom Cup Products Liability Litigation
                       Master Docket, 2:09-cv-04414-SDW-SCM (“Master Docket”)

   Dear Judge Wigenton:

   Enclosed are two exhibits, one listing the pending 56 cases and the second listing the unsettled,
   remaining 26 cases to be addressed at the next status conference. If the Court requires additional
   information prior to the status conference, please do not hesitate to contact me.


                                                 Very truly yours,

                                                 /s/ Stephanie N. Russo

                                                 Stephanie N. Russo
